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                                                                            FILED
                    IN THE UNITED STATES DISTRICT COURT                           HAR 2 5 2016
                        FOR THE DISTRICT OF MONTANA
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                                                                          Clerk
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                              BILLINGS DIVISION                              istrrct .Of. Montana
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 UNITED STATES OF AMERICA,                          CR 15-27-BLG-SPW-2

                        Plaintiff,
                                                ORDER SETTING
           vs.                                  SENTENCING

 FRANKLYN DON HAMMONTREE
 and HOPIE DANIELLE ALVAREZ
 aka Hopie White,

                        Defendants.

      Defendant, Hopie Danielle Alvarez aka Hopie White entered her plea of

guilty before U.S. Magistrate Judge Carolyn S. Ostby in open court on March 9,

2016. United States Magistrate Judge Carolyn Ostby entered Findings and

Recommendations in this matter on March 9, 2016 (Doc. 70). No objections

having been filed within fourteen days thereof,

      IT IS HEREBY ORDERED the Judge Ostby's Findings and

Recommendations (Doc. 70) are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      I.         Sentencing is set for Thursday, July 7, 2016 at 9:30 a.m., in the

James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
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        2.       The United States Probation Office shall conduct a presentence

investigation and prepare a presentence report. Fed. R. Crim. P. 32(c), (d); 18

U.S.C. § 3552(a).

        3.       The probation officer shall disclose the completed report, except for

recommendations of the probation officer, to Defendant, counsel for Defendant,

and counsel for the government on or before May 18, 2016. The probation officer

shall not disclose any recommendation made or to be made to the Court.

        4.       If restitution is mandatory, the probation officer shall discuss a

payment plan with Defendant and shall make recommendations to the Court

concerning interest and a payment schedule.

        5.       Counsel shall attempt in good faith to resolve disputes over any

material in the presentence report. Unresolved objections to be relied upon at

sentencing shall be presented to the probation officer on or before June 1, 2016.

U.S.S.G. § 6Al.2. Any unresolved objections are expected to be included in

the pre-sentence report, not in a sentencing memorandum.

        6.      The presentence report, in final form, including any unresolved

objections, shall be delivered to the Court and the parties on or before June 15,

2016.

        7.      Sentencing memoranda and supporting documents addressing all

relevant sentencing issues shall be filed on or before June 22, 2016. Absent good


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cause shown, sentencing memoranda and supporting documents filed after June 22,

2016 will not be considered in addressing sentencing issues. Failure to timely file

sentencing memoranda may result in imposition of sanctions against counsel.

      8.      Responses to sentencing memoranda shall be filed on or before June

29, 2016.

      9.      Reply briefs will not be accepted for filing in sentencing matters.

      10.     The Court will resolve objections included in the Addendum to the

presentence report at the sentencing hearing in accordance with U.S.S.G. § 6Al.3.

       11.    All parties that intend to have witnesses testify at sentencing shall give

notice to this Court ten (10) days prior to the sentencing date.

       12.    Defendant is released under the same terms and conditions pending

sentencing.

      The clerk shall promptly notify counsel and the probation office of the entry

of this Order.
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      DATEDthi' 0""d•yofMuc~                                 f'. w~
                                         'suSANP. WATTERS
                                         United States District Judge




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